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Patent Term Adjustment Statistics
November 20, 2016        Dennis Crouch
Patent Term Adjustment (PTA) adds extra time onto the end of a patent’s 20-year-term to ac-
count for delays during patent prosecution. As the PTO eliminates its backlog, PTA awards are
also decreasing. However, most newly issued patents are awarded at least some adjustment
based upon the PTO’s failure to meet the prosecution timelines delineated by Congress. For
newly issued patents, the average PTA is now around 6-months. I expect this to continue to
fall to around 3-months over the next couple of years.
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You’ll note the di continuou nature of the average PTA chart. The break point in early 010
how the impact of the Federal Circuit’ Wyeth deci ion holding that the PTO had been under
calculating the adju tment.


   USPTO Continues to Reduce Patent Term Adjustments




   About Dennis Crouch
   Law Professor at the University of Missouri School of Law. View all posts by Dennis
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     Exhibit 4 – Joint Statement of Undisputed Facts (“JSUF”) Exhibits (D.I. 258) Index

     JSUF     JSUF Bates range                           Description
    Exhibit
      1       JSUF0001-0004      Orange Book Listing for Nuplazid (pimavanserin tartrate)
      2       JSUF0005-0034      US Patent 7,601,740
      3       JSUF0035-0061      US Patent 9,566,271
      4       JSUF0062-0129      US Patent Application 10/759,561 as filed, from file history
      5       JSUF0130-0138      Restriction Requirement dated July 5, 2007, from ’561
                                 application file history
      6       JSUF0139-0140      Response to Restriction Requirement dated August 3, 2007,
                                 from ’561 application file history
      7       JSUF0141-0384      Certified file history of US Patent Application 11/416/527
              JSUF0143-0207      Application as filed
              JSUF0298-0304      June 1, 2009 Office Action (restriction/election requirement)
              JSUF0305-0318      Response to Species Election Requirement and Preliminary
                                 Amendment dated July 1, 2009
              JSUF0319-0327      Notice of Allowance
              JSUF0355-0359      April 13, 2010 Amendment After Allowance
      8       JSUF0385-0387      Terminal Disclaimer filed August 17, 2020, from ’561
                                 application (’740 patent) file history
      9       JSUF0388-0391      Notice of Final Determination (of PTE) dated March 11,
                                 2021 for ’740 patent
      10      JSUF0392-0394      Certificate Extending Patent Term (from PTE) of ’740 patent
                                 dated November 19, 2021
      11      JSUF0395-0409      Amendment responding to October 10, 2007 Office Action
                                 dated January 10, 2008, in ’561 application file history
      12      JSUF0410-0424      Office Action dated July 11, 2008, in ’561 application file
                                 history
      13      JSUF0425-0437      Amendment with RCE in response to July 11, 2008 Office
                                 Action dated October 14, 2008, in ’561 application file
                                 history
